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 7
                               UNITED STATES BANKRUPTCY COURT
 8                                    DISTRICT OF NEVADA
 9
     In re:
10                                                        Case No.: BK-S-09-32824-RCJ
              ASSET RESOLUTION, LLC                       Chapter 7
11

12                                                        Current Date: February 22, 2021
                                                          Current Time: 10:00 a.m.
13
                                                          Requested Date: March 22, 2021
14                        Debtor.                         Requested Time: 10:00 a.m.
15

16

17                 STIPULATION TO CONTINUE FEBRUARY 22, 2021 HEARING

18            This stipulation is entered into between the United States of America and William A.

19   Leonard, Jr., Chapter 7 Trustee, by their respective attorneys, to continue the hearing on the

20   Chapter 7 Trustee’s Objection to Claim Nos. 13-1 and 13-2.

21            The Chapter 7 Trustee filed an Objection to Claim Nos. 13-1 and 13-2. On July 24, 2020

22   the United States filed a response to the Objection. Hearing on the objection is presently set for

23   February 22, 2021.

24            The Claim arises out of the Debtor’s 2008 tax return and taxes claimed to be due by

25   reason of such return. The Trustee’s accountants have located in the debtor’s books and records

26   an amended 2008 return, prepared by the Debtor’s then accountants. It is unclear whether the

27   return was filed with the Internal Revenue Service (IRS). The amended return reflects that no tax

28   was due for tax year 2008. The Trustee provided a copy of the amended return to the IRS and the
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 1   IRS suggested that the Trustee file an amended return so it may be processed by the IRS and that
 2   its processing may resolve, in whole or in part, the Claim asserted by the IRS. The Trustee’s
 3   accountants prepared an amended return, which the Trustee signed and filed. The amended
 4   return is now being reviewed by the IRS.
 5               The parties therefore request the current hearing date of February 22, 2021 be continued,
 6   to permit additional time for the return to be processed.
 7               All parties reserve their rights with respect to the claim and the pending objection.
 8               THEREFORE, IT IS HEREBY AGREED AND STIPULATED:
 9               The hearing date on the Chapter 7 Trustee’s Objection to Claim Nos. 13-1 and 13-2,
10   presently scheduled for February 22, 2021, may be reset to March 22, 2021 or the first date
11   thereafter convenient to the Court.
12
     NICHOLAS A. TRUTANICH
13   United States Attorney

14    /s/ Brian W. Irvin
     BRIAN W. IRVIN
15   Assistant United States Attorney
16

17   SULLIVAN HILLREZ &ENGEL
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18   By: /s/ Jonathan S. Dabbieri
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21   William A. Leonard, Jr.

22

23

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     William A. Leonard, Jr.
7

8                               UNITED STATES BANKRUPTCY COURT

9                                       DISTRICT OF NEVADA

10   In re                                             )   CASE NO. BK-S-09-32824-RCJ (Lead Case)
                                                       )
11   ASSET RESOLUTION, LLC,                            )   Jointly Administered with Case Nos.:
                                                       )   BK-S-09-32831-RCJ; BK-S-09-32839-RCJ;
12                         Debtor.                     )   BK-S-09-32843-RCJ; BK-S-09-32844-RCJ;
                                                       )   BK-S-09-32846-RCJ; BK-S-09-32849-RCJ;
13                                                     )   BK-S-09-32851-RCJ; BK-S-09-32853-RCJ;
                                                       )   BK-S-09-32868-RCJ; BK-S-09-32873-RCJ;
14                                                     )   BK-S-09-32875-RCJ; BK-S-09-32878-RCJ;
                                                       )   BK-S-09-32880-RCJ; BK-S-09-32882-RCJ
15                                                     )
                                                       )   Chapter 7
16   Affects:                                          )
          All Debtors                                  )   CERTIFICATE OF SERVICE
17        Asset Resolution, LLC, 09-32824              )
          Bundy 2.5 Million SPE, LLC, 09-32831         )
18        Bundy Five Million SPE, LLC, 09-32839        )
          CFP Anchor B SPE, LLC, 09-32843              )
19                                                     )
          CFP Cornman Toltec SPE, LLC, 09-32844
                                                       )
20        CFP Gess SPE LLC, 09-32846                   )
          CFP Gramercy SPE, LLC, 09-32849              )
21        Fiesta Stoneridge, LLC, 09-32851             )
          Fox Hills SPE, LLC, 09-32853                 )
22        HFAH Monaco SPE LLC, 09-32868                )
          Huntsville SPE LLC, 09-32873                 )   Ctrm: RCJ - Courtroom 6
23        Lake Helen Partners SPE LLC, 09-32875        )          Bruce R. Thompson Federal Building
          Ocean Atlantic SPE LLC, 09-32878             )
24                                                                400 S. Virginia Street
          Shamrock SPE LLC, 09-32880                   )
                                                       )          Reno, NV 89501
25        10-90 SPE, LLC, 09-32882                         Judge: Hon. Robert C. Jones
                                                       )
26   ///
27   ///
28   ///


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1            I am employed in San Diego County. I am over the age of 18 and not a party to this action.

2    My business address is 600 B Street, Suite 1700, San Diego, California 92101. On February 17,

3    2021, I served the foregoing document(s), described as:

4        1. STIPULATION TO CONTINUE FEBRUARY 22, 2021 HEARING

5

6            by placing    the original    a true copy thereof, by the following means to the persons as
             listed below:
7

8            ECF SYSTEM On February 17, 2021, I checked the CM/ECF docket for this bankruptcy
             case or adversary proceeding and determined that the following person(s) are on the
9            Electronic Mail Notice List to receive ECF transmission at the email address(es) indicated
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3
             additional paper if necessary)
4
             BY DIRECT E-MAIL (as opposed to through the ECF System) (List persons and email
5            addresses. Attach additional paper if necessary.) Based upon the written agreement of the
             parties to accept service by email or a court order, I caused the document(s) to be sent to the
6            persons at the email addresses listed below. I did not receive, within a reasonable time after
             the transmission, any electronic message or other indication that the transmission was
7            unsuccessful.

8
             I declare under penalty of perjury that the foregoing is true and correct. Executed on
9
     February 17, 2021 at San Diego, California.
10
                                                                     /s/ Linda Gubba-Reiner
11                                                                        Linda Gubba-Reiner

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